                             IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                       STATESVILLE DIVISION
                                Civil Action No. 5:19-cv-0041-KDB-DCK


DANIEL DANFORD, individually                     )
and on behalf of all other similarly             )
situated individuals,                            )
                                                 )                  DEFENDANTS’
           Plaintiff,                            )               MOTION TO COMPEL
                                                 )             ARBITRATION AND FOR
v.                                               )             DISMISSAL OF 129 OPT-IN
                                                 )               PLAINTIFFS’ CLAIMS
LOWE’S COMPANIES, INC. and                       )
LOWE’S HOME CENTERS, LLC,                        )
                                                 )
           Defendants.                           )


             Pursuant to the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., and Federal Rule of

     Civil Procedure 12(b)(1), Defendants Lowe’s Companies, Inc. and Lowe’s Home Centers, LLC

     (“Lowe’s”) hereby respectfully move the Court for an order compelling 94 opt-in plaintiffs, to

     arbitrate their claims on an individual basis in accordance with their valid and enforceable

     arbitration agreements, and dismissing them as plaintiffs from this case. These individuals are

     identified in the Declaration of Melissa Spears, filed as Exhibit A to this motion.

             Pursuant to Local Civil Rule 7.1(b), Defendants’ counsel attempted to obtain concurrence

     in the relief sought in this motion, but was unable to do so, thereby necessitating that this motion

     be filed.




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Dated: June 3, 2020                        Respectfully submitted,

                                            /s/ Jason C. Schwartz
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2020, I electronically filed the foregoing document with the

Clerk of the Court using the ECF system, which will send notification of such filing to all counsel

of record.


                                             /s/ Jason C. Schwartz
                                             Attorney for Defendant




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